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Prob 12(10/09)
VAE(rev. 5/17)
                                   UNITED STATES DISTMCT COURT
                                                        for the
                                    EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Elizabeth Rains                                        Docket No. I:18mi536


                                                  Petition on Probation


       COMES NOW Elissa F.Martins.PROBATION OFFICER OF THE COURT,presenting an official report
upon the conduct and attitude of Elizabeth Rains, who was placed on supervision by the Honorable Michael S.
Nachmanoff, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the ^ day of
November. 2018. who fixed the period of supervision at one (H vear. and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

                                                      -See Page 2-


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                     See Attachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.




Returnable Date:                              lo




 ORDER OF COURT                                                 I declare under the penalty of perjury that the
                                                                foregoing is true and correct.
 Considered and ordered this   day of
 20 n and ordered filed and made a part o
     A
 records
    ord in the above case.
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                                                                                                        M.Riffle
                                                                                                Date:2019.08.27
                                                                                Riffle          15:26:34-04'00'

                                                                for Elissa F. Martins
                               Js/_                             U.S. Probation Officer
                 Michael S. Nachmanoff   A:                     (703)299-2309
                 United States Magistrate Judge
                    Michael S. Nachmanoff                       Place Alexandria. Virginia
             United States Magistrate Judge




TO CLERK'S OFFICE
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Petition on Probation
Page 2
R£: Rains, Elizabeth

OFFENSE:       Driving While Intoxicated with BAG of.08% or more

SENTENCE: The defendant was placed on one (1) year supervised probation with the following special
conditions: 1)The defendant shall enter and successfully complete an alcohol education program as directed; 2)
The defendant shall undergo substance abuse testing and/or treatment as directed; 3)The defendant shall undergo
alcohol monitoring at the direction and discretion of the probation office; 4) The defendant shall participate in
mental health treatment and/or counseling as directed; 5) The defendant shall not operate a motor vehicle
anywhere in the United States for a period ofone(1)year except: a)to,from and as directly required by probation,
b) to and from the probation office, c) to and from the alcohol program, and d) to and from this court; 6) The
defendant may not operate any motor vehicle unless it is equipped with, an alcohol-detecting ignition interlock
system approved by the probation officer; 7) The defendant shall serve ten (10) days in home confinement to
include electronic monitoring or any alternative means of surveillance at the direction and discretion of the
probation office with timeouts solely for work, probation and treatment/counseling as directed; and 8) The
defendant shall pay the $250 fine and $10 special assessment within 30 days.

On March 15, 2019, Your Honor approved the request to modify the defendant's special conditions to include:
The defendant shall abstain from the use of alcohol.

On May 3, 2019, Your Honor approved the request to modify the defendant's special conditions to include: The
defendant shall submit to and pay for remote alcohol testing as directed by the probation officer.

ADJUSTMENT TO SUPERVISION: Ms. Rains' adjustment on supervision has fluctuated. She completed the
Court ordered home confinement on December 16, 2019. Ms. Rains paid the Court ordered fines and fees on
January 3, 2019. At the commencement of supervision, Ms. Rains was living in an Oxford House. She has since
moved and is living with her partner in Arlington, Virginia. Ms. Rains works with a temporary agency and had
begun new employment in May 2019,in the Accounts Payable department with the American Chemical Society
in Washington, DC. It is noted this employment ended on August 16, 2019. Ms. Rains initially told this officer
that she was terminated and after being questioned as to the nature ofthe termination, she subsequently said she
voluntary left the position. This officer is unsure what actually happened, but is investigating the matter. She is
currently unemployed.

Ms. Rains initially obtained permission from the Arlington County General District Court to get a restricted
operator's license on December 10, 2018. The ignition interlock device was installed on the defendant's vehicle
on December 28, 2018. Due to the time lapse, the defendant had to get a second order from the local Court and
Ms. Rains ultimately obtained her restricted operator's license on March 7, 2019.

Atthe beginning ofsupervision, Ms.Rains was participating in substance abuse treatment with the Phoenix House
intensive outpatient and regular outpatient program until April 7, 2019. She was also attending mental health
treatment services through a private provider. The defendant is now participating in both mental health and
substance abuse treatment through the Arlington County Department ofBehavioral Health and is enrolled in both
group and individual therapy. In June 2019, the undersigned had contact with Karen Rambo, the defendants'
therapist with Arlington County, who related Ms. Rains had been in compliance with treatment services. The
undersigned has requested an update on compliance with treatment services and is awaiting a response.
It is noted that the undersigned previously submitted two violation reports, requesting no action. These were
related to use ofalcohol use, and non-compliance with remote alcohol testing. The above-noted additional special
conditions were added in response to these violations.
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Petition on Probation
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RE: Rains, Elizabeth


On May 30, 2019, the undersigned submitted a Petition on Probation advising of additional non-compliance
related to Ms. Rains using alcohol and submitting positive alcohol tests on the breathalyzer. The defendant
appeared before Your Honor on June 26,2019, admitted to the violations, was found in violation, and continued
on the same terms and conditions previously imposed.

VIOLATIONS: The following violations are submitted for the Court's consideration.

CONDITION 3:                         FAILURE TO ANSWER TRUTHFULLY ALL INQUIRIES BY THE
                                     PROBATION OFFICER.

On August 22, 2019, the undersigned spoke with Ms. Rains via telephone in response to a missed alcohol test.
She stated she was sleeping and missed the test. The undersigned asked Ms. Rains why she wasn't at work. Ms.
Rains then told this officer that she was terminated from her employment on August 16, 2019. When the
undersigned asked for specific information and documentation, Ms. Rains then said she voluntarily left her
employment. Ms. Rains went back and forth between the two scenarios and this officer is unsure which is truthful.
When asked ifthis officer could speak with her employer, Ms.Rains was reluctant to provide contact information.

CONDITION 6:                         FAILURE TO NOTIFY THE PROBATION OFFICER WITHIN 72
                                     HOURS OF CHANGE IN EMPLOYMENT.

Ms.Rains failed to notify the Probation Officer within 72 hours of her change in employment. As outlined above,
Ms. Rains was terminated/quit her employment on August 16, 2019, and failed to inform this officer until
August 22,2019.

SPECIAL CONDITION:                   FAILURE TO COMPLY WITH REMOTE ALCOHOL TESTING AS
                                     DIRECTED.


Ms. Rains missed tests and/or submitted late tests on the following dates:

July 6,2019: Missed test at 1:00 p.m. and submitted a late test at 1:37 p.m.
July 17,2019: Missed test at 1:00 p.m. and submitted a late test at 1:46 p.m.
July 30,2019: Missed test at 7:00 a.m. and submitted a late test at 7:57 a.m.
August 9,2019: Missed test at 11:00 p.m. and submitted a late test at 12:52 a.m.
August 22,2019: Missed test at 1:00 p.m. and submitted a late test at 2:23 p.m.
August 25,2019: Missed test at 1:00 p.m. and submitted a late test at 3:04 p.m.




EFM/cdp




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